                 Case 19-62339-pwb                         Doc 30           Filed 10/03/19 Entered 10/03/19 17:08:35                                     Desc Main
                                                                           Document      Page 1 of 14

Fill in this information to identify your case:


Debtor 1                KEN JOSEPH                                                                                                               t5i3.
                         First Name                   Middle Name                   Last Name

Debtor 2
(Spouse, if filing) First Name                        Middle Name                   Last Name


United States Bankruptcy Court for the:                             District of

Case number              19-62339-PWB
 (If known)                                                                                                                                                 Check if this is an
                                                                                                                                                            amended filing


Official Form 1060
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
Information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).


1. Do any creditors have claims secured by your property?
      O No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      •          Yes. Fill in all of the information below.


                     List All Secured Claims
                                                                                                         Column A                                Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                          Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                       that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor's name,          value of collateral.                    claim                 If any

          Mr. Cooper                                           Describe the property that secures the claim:                   $    233,439.53 $
          Creditor's Name

           8950 Cypress Walters Blvd.                          House
          Number            Street

                                                                As of the date you file, the claim is: Check all that apply.
                                                                O Contingent
          Coppell,                       TX 75019               •    Unliquidated
          City                          State   ZIP Code
                                                                     Disputed
  Who owes the debt? Check one.                                 Nature of lien. Check all that apply.
  O Debtor 1 only                                               LI An agreement you made (such as mortgage or secured
  O Debtor 2 only                                                  car loan)
  O Debtor 1 and Debtor 2 only                                  O Statutory lien (such as tax lien, mechanic's lien)
  IZ        At least one of the debtors and another             O Judgment lien from a lawsuit
                                                                O Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred 01/15/020C                             Last 4 digits of account number         9   0   8    6
2.2                                                                                                                                  49,557.00 $
          Madison Management Services,                          Describe the property that secures the claim:
          Creditor's Name

          4600 Kietzke Lane,                                   House
          Number            Street

          ste B 119                                             As of the date you file, the claim is: Check all that apply.
                                                                O Contingent
          Reno                           TX     89502           LIUnliquidated
          City                          State   ZIP Code
                                                                •    Disputed
  Who owes the debt? Check one.                                 Nature of lien. Check all that apply.
  O Debtor 1 only                                               CIAn agreement you made (such as mortgage or secured
  O Debtor 2 only                                                 car loan)
  O Debtor 1 and Debtor 2 only                                  O Statutory lien (such as tax lien, mechanic's lien)
  V ' At least one of the debtors and another                   O Judgment lien from a lawsuit
                                                                O Other (including a right to offset)
  O Check if this claim relates to a
    community debt
  Date debt was incurred               01/15/020C               Last 4 digits of account number         4   2    7    4
          Add the dollar value of your entries in Column A on this page. Write that number here:                               1$   282,996.53

 Official Form 106D                                    Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of
             Case 19-62339-pwb                        Doc 30         Filed 10/03/19 Entered 10/03/19 17:08:35                                       Desc Main
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Debtor 1         KEN JOSEPH                                                                                Case number (if known)   19-62339-PWB
                   First Name    Middle Name            Last Name

                                                                                                                       Column A               Column B              Column C
               Additional Page
                                                                                                                       Amount of claim        Value of collateral   Unsecured
               After listing any entries on this page, number them beginning with 2.3, followed                        Do not deduct the      that supports this    portion
               by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any

                                                        Describe the property that secures the claim:
      Creditor's Name

      Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
                                                        O Contingent
      City                        State   ZIP Code      •    Unliquidated
                                                        O Disputed
 Who owes the debt? Check one.                          Nature of lien. Check all that apply.
 El Debtor 1 only                                       O An agreement you made (such as mortgage or secured
 O Debtor 2 only                                          car loan)
 El Debtor 1 and Debtor 2 only                          O Statutory lien (such as tax lien, mechanic's lien)
 D      At least one of the debtors and another         O Judgment lien from a lawsuit
                                                        El Other (including a right to offset)
 •      Check if this claim relates to a
        community debt

 Date debt was incurred                                 Last 4 digits of account number_ —             —
                  -a,                                                                                                                                   z
                                                        Describe the property that secures the claim:
      Creditors Name

      Number            Street
                                                        As of the date you file, the claim is: Check all that apply.
                                                        O Contingent
                                                        •    Unliquidated
      City                        State    ZIP Code     O Disputed
 Who owes the debt? Check one.
                                                        Nature of lien. Check all that apply.
  O Debtor 1 only
                                                        El An agreement you made (such as mortgage or secured
  O Debtor 2 only                                          car loan)
  O Debtor 1 and Debtor 2 only                          El Statutory lien (such as tax lien, mechanic's lien)
  El At least one of the debtors and another            O Judgment lien from a lawsuit
                                                        El Other (including a right to offset)
  O Check if this claim relates to a
    community debt

  Date debt was incurred                                Last 4 digits of account number
                                                                             -    —
                                                        Describe the property that secures the claim:
      Creditor's Name

      Number            Street

                                                        As of the date you file, the claim is: Check all that apply.
                                                        U Contingent
      City                        State    ZIP Code     •    Unliquidated
                                                        U Disputed
  Who owes the debt? Check one.                         Nature of lien. Check all that apply.
  El Debtor 1 only                                       O An agreement you made (such as mortgage or secured
  O Debtor 2 only                                          car loan)
     O Debtor 1 and Debtor 2 only                        O Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another              O Judgment lien from a lawsuit
                                                        El Other (including a right to offset)
  O Check if this claim relates to a
    community debt

  Date debt was incurred                                Last 4 digits of account number

              Add the dollar value of your entries in Column A on this page. Write that number here:

             If this is the last page of your form, add the dollar value totals from all pages.
             Write that number here:

Official Form 1060                        Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                      page      of
       Case 19-62339-pwb                     Doc 30           Filed 10/03/19 Entered 10/03/19 17:08:35                               Desc Main
                                                             Document      Page 3 of 14
Debtor 1       KEN JOSEPH                                                                      Case number Of knOWn)   19-62339-PWB
               First Name     Middle Name        Last Name


 Part 2:       List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
 you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
 be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

      Name                                                                                Last 4 digits of account number


      Number        Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?

      Name                                                                                Last 4 digits of account number


      Number         Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number    9   0    8    6

      Number         Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number


      Number         Street




      City                                          State         ZIP Code

                                                                                          On which line in Part 1 did you enter the creditor?
      Name                                                                                Last 4 digits of account number


      Number         Street




      City                                          State         ZIP Code



Official Form 106D                          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                             page      of
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Fill in this information to identify your case:


Debtor 1
                      First Name             Middle Name                   Last Name


pebtor 2
(Spouse, if filing)   First Name             Middle Name                   Last Name


ynited States Bankruptcy Court for the:                    District of
Case number           I CI           7'35     -"" P           IS
                                                                                                                                             LI Check if this is an
(If known)                                                                                                                                        amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                             12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together In a joint case, both are equally responsible for supplying correct Information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:           List Your Creditors Who Have Secured Claims

  ; 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

            Identify the creditor and the property that is collateral                  What do you intend to do with the property that   Did you claim the property
                                                                                       secures a debt?                                   as exempt on Schedule C?

           Creditor's                                                                  Li Surrender the property.                        Erni)
           name: lAt               z, co 0 PCF_R.,                                     0   Retain the property and redeem it.            U Yes
          Description of
                                                                                       Li Retain the property and enter into a
          property                 ReC511:g1-47 (or                                       Reaffirmation Agreement.
          securing debt:
                                                                                       liatelain the property and [explain]:



          Creditor's                                                                   LI Surrender the property.                        Er:lo
          name:
                        MCk°tS6 4 1‘1\4C1rvCC S €(4)1CC=S0 Retain the property and redeem it.                                            U Yes
          Description of
                                                                                       0 Retain the property and enter into a
          property
          securing debt:           spEstDtk-trk Pc l                                     Reaffirmation Agreement.
                                                                                       aKtain the property and [explain]:
                                                                                                    bvs-p1/4YR&C)
          Creditor's                                                                   U Surrender the property.                         LINO
          name:
                                                                                       0 Retain the property and redeem it.              0 Yes
          Description of
                                                                                       Li Retain the property and enter into a
          property
          securing debt:                                                                  Reaffirmation Agreement.
                                                                                       Li Retain the property and [explain]:


           Creditor's                                                                  LI Surrender the property.                        LI No
           name:
                                                                                       LI Retain the property and redeem it.             Li Yes
           Qescription of
                                                                                           Retain the property and enter into a
           property
           securing debt:                                                                  Reaffirmation Agreement.
                                                                                       0 Retain the property and [explain]:



   Official Form 108                            Statement of intention for individuals Filing Under Chapter 7                                      page 1
            Case 19-62339-pwb                        Doc 30         Filed 10/03/19 Entered 10/03/19 17:08:35                            Desc Main
                                                                   Document      Page 5 of 14

 Debtor 1
                 nrst Name        Middle Name
                                                N-     Last Name
                                                                                                  Case number (II known)   )1          3 3"1.        Pw..E3


   Part 2:           List Your Unexpired Personal Property Leases

   For any unexpired personal property lease that you listed In Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
   fill In the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
   ended. You may assume an unexpired personal property lease If the trustee does not assume it. 11 U.S.C. §366(p)(2).

        Describe your unexpired personal property leases                                                                    Will the lease be assumed?

       Lessor's name:                                                                                                      0 No
                                                                                                                           0 Yes
       Description of leased
       property:


       Lessor's name:         •                                                                                            LI No
                                                                                                                           0 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                      CI No

       Description of leased                                                                                               0 Yes
       property:


       Lessor's name:                                                                                                      LI No
                                                                                                                           0 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                      LI No
                                                                                                                           0 Yes
       Description of leased
       property:


       Lessor's name:                                                                                                      LI No
                                                                                                                                Yes
       Description of leased
       property:


       Lessor's name:                                                                                                      LI No
                                                                                                                                Yes
       Description of leased
       property:




   Part 3:           Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is s ject to an nexpired lease.




       Sigrfature of Debtor                                             Signature of Debtor 2


       Date    16 -3
              MM /
                      -1 7
                  DD / YYYY
                                                                         Date
                                                                                MM! DD /   YYYY




Official Form 108                                    Statement of Intention for Individuals Filing Under Chapter 7                          page 2
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                                                                 Document      Page 6 of 14

 Fill in this information to identify your case:                                                                       Check the appropriate box as directed in
                                                                                                                       lines 40 or 42:

 Debtor 1           Ken Joseph                                                                                         According to the calculations required by
                     First Name                  Middle Name                Last Name
                                                                                                                       this Statement:
 Debtor 2
 (Spouse, if filing) First Name                  Middle Name                Last Name                                      1. There is no presumption of abuse.

  United States Bankruptcy Court for the: Northern District of Georgia                                                 1:3 2. There is a presumption of abuse.

 Case number         19-62339-pwb
  (If known)
                                                                                                                       0 Check if this is an amended filing




Official Form 122A-2
Chapter 7 Means Test Calculation                                                                                                                            04/19

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).



Part 1:          Determine Your Adjusted Income



1. Copy your total current monthly Income.                                                    Copy line 11 from Official Form 122A-1 here4            $ 6,700.00

2. Did you fill out Column B in Part 1 of Form 122A-1?

   1:1 No. Fill in $0 for the total on line 3.
    1:1 Yes. Is your spouse filing with you?

         liZ1 No. Go to line 3.
         1:1 Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse's income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

   On line 11, Column B of Form 122A-1, was any amount of the income you reported for your spouse NOT
   regularly used for the household expenses of you or your dependents?

    1:1 No. Fill in 0 for the total on line 3.
    VI Yes. Fill in the information below:

               State each purpose for which the income was used                              Fill in the amount you
               For example, the income is used to pay your spouse's tax debt or to support   are subtracting from
               people other than you or your dependents                                      your spouse's income


               tax debt and others                                                                          700

               Medical                                                                                      600

               others                                                                        +$            1500

            Total.                                                                                    2,900.00
                                                                                                                      Copy total here               —$       2,900.00


4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                      $ 3,590.00



Official Form 122A-2                                                Chapter 7 Means Test Calculation                                                     page 1
      Case 19-62339-pwb                   Doc 30            Filed 10/03/19 Entered 10/03/19 17:08:35                             Desc Main
                                                           Document      Page 7 of 14
Debtor 1       Ken Joseph                                                                   Case number (11 known)_19-62339-pwb
               First Name   Middle Name        Last Name




Part 2:       Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk's office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse's income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A-1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A-1 is filled in.



    5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.
                                                                                                                                 3

    National Standards         You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill                  $ 1,446.00
      in the dollar amount for food, clothing, and other items.



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categories—people who are
      under 65 and people who are 65 or older—because older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a. Out-of-pocket health care allowance per person
                                                                           54.00

       7b. Number of people who are under 65
                                                                       4

       7c. Subtotal. Multiply line 7a by line 7b.                       216.00     Copy here+       $      216.00



           People who are 65 years of age or older


       7d. Out-of-pocket health care allowance per person
                                                                        130.00

       7e. Number of people who are 65 or older                  X     0

       7f. Subtotal. Multiply line 7d by line 7e.                           0.00   Copy here4       $          0.00


       7g. Total. Add lines 7c and 7f                                                               $     216.00           Copy total here4 $    216.00
                                                                                                                       1




Official Form 122A-2                                        Chapter 7 Means Test Calculation                                                  page 2
       Case 19-62339-pwb                      Doc 30            Filed 10/03/19 Entered 10/03/19 17:08:35                                 Desc Main
                                                               Document      Page 8 of 14
Debtor 1        Ken Joseph                                                                         Case number (if known)   19-62339-pwb
                 First Name    Middle Name         Last Name




   Local Standards            You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
   •   Housing and utilities — Insurance and operating expenses
   •   Housing and utilities — Mortgage or rent expenses

   To answer the questions In lines 8-9, use the U.S. Trustee Program chart,
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk's office.


   8. Housing and utilities — Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses.                                                                $   1,445.00

   9. Housing and utilities — Mortgage or rent expenses:

           9a.Using the number of people you entered in line 5, fill in the dollar amount listed                      $ 2,101.00
              for your county for mortgage or rent expenses

           9b.Total average monthly payment for all mortgages and other debts secured by your home.


              To calculate the total average monthly payment, add all amounts that are
              contractually due to each secured creditor in the 60 months after you file for
              bankruptcy. Then divide by 60.


                Name of the creditor                                             Average monthly
                                                                                 payment

                Madison management services, LLC                                 $      825.00

                Mr. cooper                                                       $    2,811.00

                                                                             + $

                                                                                                       Copy                          Repeat this
                                                                                                                                               is
                                        Total average monthly payment            $    3,636.00                                         rnoun t
                                                                                                       here+       —$       3,636.00 line
                                                                                                                                      a 33a.

       9c. Net mortgage or rent expense.
               Subtract line 9b (total average monthly payment) from line 9a (mortgage or                             $ -1,535.00      Copy     $ -1,535.00
               rent expense). If this amount is less than $0, enter $0.                                                                here+



   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and affects
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain
           why:



   11.Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

       L:1 0. Go to line 14.
       CI      1. Go to line 12.
       0       2 or more. Go to line 12.



   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                      $   440.00




Official Form 122A-2                                            Chapter 7 Means Test Calculation                                                    page 3
       Case 19-62339-pwb                            Doc 30          Filed 10/03/19 Entered 10/03/19 17:08:35                           Desc Main
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Debtor 1        Ken Joseph                                                                         Case number Of known)   19-62339-pwb
                 First Name         Middle Name        Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


           Vehicle 1          Describe Vehicle 1:    Ford expedition



           13a. Ownership or leasing costs using IRS Local Standard.
                                                                                                                     $     480.00

           13b. Average monthly payment for all debts secured by Vehicle 1.
                Do not include costs for leased vehicles.
                To calculate the average monthly payment here and on line 13e, add all
                amounts that are contractually due to each secured creditor in the 60 months
                after you filed for bankruptcy. Then divide by 60.

                       Name of each creditor for Vehicle 1                  Average monthly
                                                                            payment
                                                                                        0.00


                                                                           +   $        0.00

                                                                                                  Copy                              Repeat this
                                      Total average monthly payment                     0.00                                 0.00   amount on
                                                                                                  here+          $                  line 33b.

                                                                                                                                    Copy net
           13c. Net Vehicle 1 ownership or lease expense                                                                            Vehicle 1
                Subtract line 13b from line 13a. If this amount is less than $0, enter $0.                                 480.00   expense
                                                                                                                                    here    4      $    480.00


           Vehicle 2          Describe Vehicle 2:    bmw



           13d. Ownership or leasing costs using IRS Local Standard.                                                       480.00
           13e. Average monthly payment for all debts secured by Vehicle 2.
                 Do not include costs for leased vehicles.

                       Name of each creditor for Vehicle 2                  Average monthly
                                                                            payment

                                                                                              0


                                                                           + $                0

                                                                                                  Copy                               Repeat this
                                       Total average monthly payment                      00                                  00     amount on
                                                                                                  here+       —$                     line 33c.

                                                                                                                                    Copy net
           13f. Net Vehicle 2 ownership or lease expense                                                                            Vehicle 2
                                                                                                                           480.00   expense
                Subtract line 13e from 13d. If this amount is less than $0, enter $0
                                                                                                                                    here... 4           480.00

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.


   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.


Official Form 122A-2                                                Chapter 7 Means Test Calculation                                               page 4
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                                                               Document     Page 10 of 14
Debtor 1     Ken Joseph                                                                         Case number (,rknown)   19-62339-pwb
             First Name     Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, Social Security taxes, and Medicare taxes. You may include the monthly amount withheld from your
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.


   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.

   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse's term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse's life insurance, or for any form of life insurance other than term.             $   55.00

   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                              $    0.00
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
       • as a condition for your job, or
       • for your physically or mentally challenged dependent child if no public education is available for similar services.

   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.

   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it     +   $
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                      $   55.00
       Add lines 6 through 23.




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Debtor 1       Ken Joseph                                                                     Case number (if known)   19-62339-pwb
               First Name     Middle Nuns       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health Insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance

       Disability insurance

       Health savings account

       Total                                                              0.00                   Copy total here+                                0.00

       Do you actually spend this total amount?

       CI   No. How much do you actually spend?                           0.00
       l21 Yes



    26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of your
       household or member of your immediate family who is unable to pay for such expenses. These expenses may include
       contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


    27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety of
       you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
       By law, the court must keep the nature of these expenses confidential.


    28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


    29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $170.83*
      per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
      elementary or secondary school.
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
      reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/22, and every 3 years after that for cases begun on or after the date of adjustment.


    30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are higher
       than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than 5% of the
       food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk's office.
      You must show that the additional amount claimed is reasonable and necessary.


    31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).



    32. Add all of the additional expense deductions.
       Add lines 25 through 31.




                                                                      ,

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Debtor 1        Ken Joseph                                                                                  Case number Of known)   19-62339-pwb
                First Name     Middle Name          Lest Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill In lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                       Average monthly
                                                                                                                       payment
                Mortgages on your home:

           33a. Copy line 9b here                                                                                4       $      3,636.00

                Loans on your first two vehicles:

           33b. Copy line 13b here.                                                                                                   0.00

           33c. Copy line 13e here.                                                                                      $              00

           33d. List other secured debts:

                  Name of each creditor for other               Identify property that              Does payment
                  secured debt                                  secures the debt                    include taxes
                                                                                                    or Insurance?

                                                                                                     LI    No
                                                                                                     LI    Yes

                                                                                                     LI    No
                                                                                                     LI    Yes

                                                                                                     LI    No
                                                                                                                      +$
                                                                                                     LI    Yes

                                                                                                                                             Copy total
      33e.Total average monthly payment. Add lines 33a through 33d.
                                                                                                                                             here+


   34.Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
      or other property necessary for your support or the support of your dependents?

       g     No. Go to line 35.
       LI    Yes. State any amount that you must pay to a creditor, in addition to the payments
                  listed in line 33, to keep possession of your property (called the cure amount).
                  Next, divide by 60 and fill in the information below.

                    Name of the creditor            Identify property that             Total cure                        Monthly cure
                                                    secures the debt                   amount                            amount

                                                                                   $                      + 60   =       $

                                                                                   $                   + 60 =            $

                                                                                   $                   ÷ 60 =         +$
                                                                                                                                             Copy total
                                                                                                          Total                              here4
                                                                                                                     L $
   35. Do you owe any priority claims such as a priority tax, child support, or alimony —
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

             No. Go to line 36.
       lj    Yes. Fill in the total amount of all of these priority claims. Do not include current or
                  ongoing priority claims, such as those you listed in line 19.

                   Total amount of all past-due priority claims
                                                                                                                                              +60=

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              First Name      Middle Name          Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk's office.
           No. Go to line 37.
       O Yes. Fill in the following information.

                 Projected monthly plan payment if you were filing under Chapter 13

                  Current multiplier for your district as stated on the list issued by the
                  Administrative Office of the United States Courts (for districts in Alabama and
                  North Carolina) or by the Executive Office for United States Trustees (for all
                  other districts).                                                                             X
                  To find a list of district multipliers that includes your district, go online using the
                  link specified in the separate instructions for this form. This list may also be
                  available at the bankruptcy clerk's office.
                                                                                                                                     Copy total
                  Average monthly administrative expense if you were filing under Chapter 13                                         here+



   37. Add all of the deductions for debt payment.
       Add lines 33e through 36.


   Total Deductions from Income


   38.Add all of the allowed deductions.

      Copy line 24, All of the expenses allowed under IRS
      expense allowances

      Copy line 32, All of the additional expense deductions


      Copy line 37, All of the deductions for debt payment                +$

                                                    Total deductions [      $                               Copy total here                  4


                Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

       39a. Copy line 4, adjusted current monthly income                    $       3,590.00

       39b. Copy line 38, Total deductions                               —$

       39c. Monthly disposable income. 11 U.S.C. § 707(b)(2).                                               Copy              $
             Subtract line 39b from line 39a.                                                               here4

              For the next 60 months (5 years)                                                                                x 60

       39d. Total. Multiply line 39c by 60.
                                                                                                                              $   _46 a   Copy
                                                                                                                                                  -44461
                                                                                                                                          here4



   40. Find O)3 whether there is a presumption of abuse. Check the box that applies:

            he line 39d is less than $8,175*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go to
           Part 5.

       O The line 39d is more than $13,650*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
         may fill out Part 4 if you claim special circumstances. Then go to Part 5.

       •   The line 39d is at least $8,175*, but not more than $13,650*. Go to line 41.

           * Subject to adjustment on 4/01/22, and every 3 years after that for cases filed on or after the date of adjustment.


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                First Name      Middle Marne       Last Name




    41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
             Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
             (Official Form 106Sum), you may refer to line 3b on that form

                                                                                                                    x    .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(1).                                         Copy
               Multiply line 41a by 0.25.                                                                                             here")



   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

             Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.


       Zi Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
          of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




               Give Details About Special Circumstances

43.Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
   reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

   lj No. Go to Part 5.
   LI Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
              for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.


               Give a detailed explanation of the special circumstances                                             Average monthly expense
                                                                                                                    or income adjustment




              By signing here, I declare under penalty of p rjury that the information on this statement and in any attachments is true and correct.




                     nature of Debt                                                     Signature of Debtor 2


                 Date                                                                   Date
                        MM/DO         / YYYY                                                   MM/DD / YYYY



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